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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                   Case Number 8:10CR158-009

                                                     USM Number 23510-047

CARLOS LOMELI
                       Defendant
                                                     J. WILLIAM GALLUP

                                                     Defendant’s Attorney
___________________________________

                               JUDGMENT IN A CRIMINAL CASE
                     (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT pleaded guilty to count IV of the 2nd Superseding Indictment on July 24, 2012.

ACCORDINGLY, the court has adjudicated that the Defendant is guilty of the following offense:

                                                          Date Offense               Count
          Title, Section & Nature of Offense               Concluded                Number


  21:841(a)(1) and 21:841(b)(1) POSSESSION WITH           March 4, 2010               4ss
 INTENT TO DISTRIBUTE LESS THAN 100
 KILOGRAMS OF MARIJUANA

The Defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

The Indictment, Superseding Indictment and Counts I and II of the 2nd Superseding Indictment are
dismissed on the motion of the United States as to this Defendant only.


The Defendant shall cooperate in the collection of DNA, pursuant to Public Law 108-405 (Revised
DNA Collection Requirements under the Justice for All Act of 2004).

IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
Defendant shall notify the court and United States attorney of any material change in the
Defendant’s economic circumstances.

                                                                   Date of Imposition of Sentence:
                                                                                     July 24, 2012

                                                                        s/ Lyle E. Strom
                                                               Senior United States District Judge

                                                                              July 24, 2012
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                                       IMPRISONMENT

The Defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of Time Served.



The Defendant is remanded to the custody of the United States Marshal.



                             ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______

                                                            _____________________________
                                                                    Signature of Defendant

                                           RETURN

It is hereby acknowledged that the Defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.

                                                      __________________________________
                                                             UNITED STATES WARDEN

                                                   By:__________________________________

NOTE: The following certificate must also be completed if the Defendant has not signed the
Acknowledgment of Receipt, above.

                                        CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the Defendant this ____ day of
_______________, ______

                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
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                                     SUPERVISED RELEASE

Upon release from imprisonment, the Defendant shall be on supervised release for a term of 2
years.

The Defendant shall not commit another federal, state or local crime.

The Defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the
Defendant pay in accordance with the Schedule of Payments sheet of this judgment.

The Defendant must comply with standard conditions that have been adopted by this court as well
as with any additional conditions on the attached page.

                             STANDARD CONDITIONS OF SUPERVISION

1.       The Defendant shall not leave the judicial district without the permission of the court or
         probation officer;
2.       The Defendant shall report to the probation officer in a manner and frequency directed by
         the court or probation officer.
3.       The Defendant shall answer truthfully all inquiries by the probation officer and follow the
         instructions of the probation officer;
4.       The Defendant shall support his or her dependents and meet other family responsibilities;
5.       The Defendant shall work regularly at a lawful occupation, unless excused by the probation
         officer for schooling, training, or other acceptable reasons;
6.       The Defendant shall notify the probation officer at least ten days prior to any change in
         residence or employment;
7.       The Defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
         use, distribute, or administer any controlled substance or any paraphernalia related to any
         controlled substances, except as prescribed by a physician;
8.       The Defendant shall not frequent places where controlled substances are illegally sold,
         used, distributed, or administered;
9.       The Defendant shall not associate with any persons engaged in criminal activity and shall
         not associate with any person convicted of a felony, unless granted permission to do so by
         the probation officer;
10.      The Defendant shall permit a probation officer to visit him or her at any time at home or
         elsewhere and shall permit confiscation of any contraband observed in plain view of the
         probation officer;
11.      The Defendant shall notify the probation officer within seventy-two hours of being arrested
         or questioned by a law enforcement officer;
12.      The Defendant shall not enter into any agreement to act as an informer or a special agent
         of a law enforcement agency without the permission of the court;
13.      As directed by the probation officer, the Defendant shall notify third parties of risks that may
         be occasioned by the Defendant’s criminal record or personal history or characteristics and
         shall permit the probation officer to make such notifications and to confirm the Defendant’s
         compliance with such notification requirement.
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                             SPECIAL CONDITIONS OF SUPERVISION


1.       The Defendant shall cooperate in the collection of DNA as directed by the probation officer,
         pursuant to the Public Law 108-405 (Revised DNA Collection Requirements Under the
         Justice for All Act of 2004).

2.       Pursuant to 18 U.S.C. § 3583 (d), the Defendant shall submit to a drug test within fifteen
         (15) days of release on supervised release and at least two (2) periodic drug tests thereafter
         to determine whether the Defendant is using a controlled substance. Further, the
         Defendant shall submit to such testing as requested by any probation officer to detect the
         presence of alcohol or controlled substances in the Defendant’s body fluids and to
         determine whether the Defendant has used any of those substances. Based on the
         Defendant’s ability to pay, the Defendant shall pay for the collection of urine samples to be
         tested for the presence of alcohol and/or controlled substances in an amount to be
         determined by the probation officer.

3.       Paragraph # 7 of the Standard Conditions of supervision is modified, i.e., instead of merely
         refraining from excessive use of alcohol, the Defendant shall not purchase or possess, use,
         distribute, or administer any alcohol, just the same as any other narcotic or controlled
         substance.

4.       The Defendant shall submit his or her person, residence, office, or vehicle to a search
         conducted by a United States Probation Officer at any time; failure to submit to a search
         may be grounds for revocation; the Defendant shall warn any other residents that the
         premises may be subject to searches pursuant to this condition.

5.       The Defendant shall attend, pay for and successfully complete any diagnostic evaluations,
         treatment or counseling programs, or approved support groups (e.g., AA/NA) for alcohol
         and/or controlled substance abuse, as directed by the probation officer.

6.       The Defendant shall complete 100 hours of community service as approved and directed
         by the probation officer. The Defendant shall be responsible for providing the probation
         officer with written proof of the number of hours completed.

7.       It is recommended that the Defendant complete his GED while incarcerated or during his
         term of supervised release, or in the alternative, complete an approved vocational
         rehabilitation program as directed by the probation officer.

8.       The Defendant shall provide the probation officer with access to any requested financial
         information.

9.       The Defendant shall attend, successfully complete, and pay for a gambling addictions
         program, as directed by the probation officer.

10.      The Defendant shall report to the Supervision Unit of the U.S. Probation Office for the
         District of Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 111 South 18th Plaza,
         Suite C79, Omaha, Nebraska, (402) 661-7555, within seventy-two (72) hours of release
         from confinement, and, thereafter, as directed by the probation officer.
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                               CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

             Total Assessment                                Total Fine           Total Restitution
    $100.00 (paid) Receipt # 8-20980




                                                    FINE

         No fine imposed.

                                              RESTITUTION

         No restitution was ordered.




CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
